211 F.2d 235
    NATIONAL LABOR RELATIONS BOARDv.SPITZER MOTOR SALES, Inc.
    No. 203.
    Docket 22853.
    United States Court of Appeals Second Circuit.
    Argued March 10, 1954.
    Decided March 24, 1954.
    
      Melvin Pollack, Atty., National Labor Relations Board, Washington, D. C. (George J. Bott, Gen. Counsel, David P. Findling, Associate Gen. Counsel, A. Norman Somers, Asst. Gen. Counsel, and Samuel M. Singer, Atty., National Labor Relations Board, Washington, D. C., on the brief), for petitioner.
      Arthur Kaplan, New York City, for respondent.
      Before CLARK, MEDINA, and HARLAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      The objections raised to enforcement of the order of the National Labor Relations Board against this respondent rest entirely upon disputed issues of fact which the Board, making its own findings, 102 N.L.R.B. 437, has resolved in a careful and discriminating manner fully supported by the evidence. The assertions by respondent in oral argument as to some late agreement of adjustment with the complaining union present no issue for us on this proceeding. National Labor Relations Board v. Mexia Textile Mills, 339 U.S. 563, 567-568, 70 S.Ct. 833, 94 L.Ed. 1067; National Labor Relations Board v. Bell Aircraft Corp., 2 Cir., 206 F.2d 235, 238; National Labor Relations Board v. General Motors Corp., 2 Cir., 179 F.2d 221, 222.
    
    
      2
      An order of enforcement will issue.
    
    